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                                                             09/28/2021

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 2
                             UNITED STATES DISTRICT COURT
 3
                            CENTRAL DISTRICT OF CALIFORNIA
 4
                                  WESTERN DIVISION
 5

 6    UNITED STATES OF AMERICA,               Civil Case No. 21-6582-JFW (KSx)
 7             Plaintiff,
                                              STIPULATED ORDER FOR
 8        v.                                  PERMANENT INJUNCTION AND
                                              FINAL JUDGMENT AS TO
 9    INTERNET TRANSACTION                    DEFENDANT EVELYN
                                              SEIDMAN
10
      SERVICES, INC., et al.,

11             Defendants.
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 1            On August 13, 2021, the United States of America filed its Complaint for
 2    Temporary Restraining Order, Preliminary and Permanent Injunctions, and Other
 3    Equitable Relief (the “Complaint”) against Defendant Evelyn Seidman
 4    (“Defendant”) and other named Defendants, pursuant to 18 U.S.C. § 1345, based
 5    on Defendants’ alleged violations of 18 U.S.C. §§ 1343, 1344, and 1349. On
 6    August 20, 2021, the Court issued its Order granting the United States’ Ex Parte
 7    Application for a Temporary Restraining Order. On September 2, 2021, the Court
 8    issued a Preliminary Injunction.
 9            The United States and Defendant stipulated to the entry of this Stipulated
10    Order for Permanent Injunction (“Order”). Defendant entered into the Stipulation
11    freely and without coercion. Defendant further acknowledged that she has read the
12    provisions of the Stipulation and this Order, understands them, and is prepared to
13    abide by them. Per the parties’ agreement, the Stipulation and this Order resolve
14    only the claims against Defendant in the above-captioned civil lawsuit. They do
15    not prevent the United States from pursuing criminal penalties against Defendant
16    in relation to the conduct alleged in the Complaint, nor does Defendant’s
17    Stipulation constitute evidence that Defendant committed the acts alleged in the
18    Complaint, or in any way prejudice Defendant’s ability to contest the allegations in
19    the Complaint in a future proceeding. Neither the Stipulation nor this Order shall
20    be admissible in any future civil or criminal litigation between the United States
21    and Defendant.
22            Accordingly, it is hereby ORDERED, ADJUDGED, AND DECREED that:
23                                             FINDINGS
24            A.    This Court has jurisdiction over the subject matter of this case and
25    there is good cause to believe that it will have jurisdiction over all parties hereto
26    and that venue in this district is proper.
27            B.    The United States seeks injunctive relief pursuant to 18 U.S.C. §
28    1345.
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 1          C.        Defendant neither admits nor denies any of the allegations in the
 2    Complaint. Only for purposes of this action, Ms. Seidman admits the facts
 3    necessary to establish jurisdiction.
 4                                        DEFINITIONS
 5          For the purpose of this Order:
 6          A.        “Asset” means any legal or equitable interest in, right to, or claim to,
 7    any property, wherever located and by whomever held.
 8          B.        “Corporate Entities” means Defendants Internet Transaction
 9    Services, Inc., Intertrans.com, Inc., and each of the “Shell Entities” defined below.
10          C.        “Payment Processing Services” means handling credit card
11    transactions, debit card transactions, Automated Clearing House (ACH)
12    transactions, check transactions, money orders, or cash transactions.
13          D.        “Person” means any individual, corporation, a partnership, or any
14    other entity.
15          E.        “Receiver” means Thomas W. McNamara, and any deputy receivers
16    that shall be named by him.
17          F.        “Receivership Entities” means Defendants Internet Transaction
18    Services, Inc.; Intertrans.com, Inc.; as well as any other entity that has conducted
19    any business related to Intertrans’ participation in the scheme that is the subject of
20    the Complaint in this matter, including receipt of Assets derived from any activity
21    that is the subject of the Complaint in this matter, and that the Receiver
22    determines is controlled or owned by Intertrans.
23          G.        “Shell Entities” means Defendants Be a Kloud LLC; Blue Water
24    LLC; CBX International Inc. (Delaware); CBX International, Inc. (Florida); Delta
25    Cloud LLC; Dollar Web Sales LLC; ECloud Secure LLC; Eastgate View LLC; I-
26    Support Group LLC; My Kloud Box LLC; Newagecloudservices LLC; NRG
27    Support LLC; Silver Safe Box LLC; Silver Safe Box Inc.; Storage VPN LLC; and
28    VPN Me Now LLC.
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 1                                               ORDER
 2    I.      PROHIBITED ACTIVITIES
 3            IT IS ORDERED that Defendant, her agents and attorneys, and all other
 4    persons in active concert or participation with her, who receive actual notice of this
 5    Order by personal service or otherwise, are permanently restrained and enjoined
 6    from:
 7            A.    Committing or conspiring to commit wire fraud, as defined by 18
 8    U.S.C. §§ 1343 and 1349;
 9            B.    Committing or conspiring to commit bank fraud, as defined by 18
10    U.S.C. §§ 1344 and 1349;
11            C.    Charging or debiting any person or entity on behalf of any Shell
12    Entities or for the purported purchase of any Shell Entities’ services;
13            D.    Debiting funds from consumers’ bank accounts without their prior
14    authorization;
15            E.    Engaging in any tactics to avoid fraud and risk monitoring programs
16    established by any financial institution, payment processors, or the operators of any
17    payment system, including by using sham transactions, such as the “micro
18    transactions” described in the Complaint, to reduce a bank account’s return or
19    chargeback rate, or by using shell corporations to open bank accounts;
20            F.    Incorporating or creating any corporate entity for the purpose of
21    debiting funds from consumers’ bank accounts without their prior authorization;
22            G.    Selling, renting, leasing, transferring, or otherwise disclosing, the
23    name, address, birth date, telephone number, email address, credit card number,
24    bank account number, Social Security number, IP address, or other financial or
25    identifying information of any person that any Defendant obtained in connection
26    with any activity that pertains to the subject matter of the Complaint in this case
27    and this Order; and
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                                                 3
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 1           H.    Providing any support or substantial assistance to any Person that
 2    Defendant knows is engaged in any of the above activities.
 3    II.    COOPERATION WITH RECEIVER AND ASSET FREEZE
 4           For any Corporate Entities’ or Receivership Entities’ Assets within the
 5    control of Defendant, her agents and attorneys, and/or all other persons in active
 6    concert or participation with her, Defendant shall:
 7           A.    Hold, preserve, and retain within her control and prohibit the
 8    withdrawal, removal, alteration, assignment, transfer, pledge, encumbrance,
 9    disbursement, dissipation, relinquishment, conversion, sale, or other disposal of
10    any Asset, as well as all Documents or other property related to such Assets,
11    except by further order of this Court or by direction of the Receiver;
12           B.    Fully cooperate with and assist the Receiver in taking and maintaining
13    possession, custody, or control of the Receivership Entities’ Assets; and
14           C.    To the extent she has not done so already, provide the United States,
15    within seven (7) days after entry of this Order or of obtaining direct or indirect
16    control over the Assets: (1) a list of all accounts, including savings, checking,
17    investment, and merchant accounts held in the name of a Corporate Entity or
18    Receivership Entity, for which the Defendant is an accountholder, signatory,
19    beneficiary, or over which the Defendant otherwise has control; (2) a list of any
20    other Assets held or controlled by the Defendant in the name of a Corporate Entity
21    or Receivership Entity; and (3) the balance of each such account, or a description
22    of the nature and value of each such Asset.
23
      III.   COMPLIANCE MONITORING
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             For a period of five (5) years after the date of entry of this Order, Defendant
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      must notify the United States if she:
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             A.    Creates, operates, is employed by, or otherwise becomes involved in
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      any business or entity that provides, or consults or provides advice regarding
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      Payment Processing Services;
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 1          B.     Creates, operates, is employed by, or otherwise becomes involved in
 2    any business or entity that monitors return or chargeback rates for any other
 3    business or corporate entity; and/or provides advice or consulting on how to lower
 4    or manage return or chargeback rates for any business or corporate entity;
 5          C.     Creates, operates, is employed by, or otherwise becomes involved in
 6    any business or entity that purports to offer cloud computing services, identity theft
 7    protection services, or technology support services; and/or
 8          D.     Creates, operates, or exercises control over any business entity,
 9    whether newly formed or previously inactive. Defendant must also provide the
10    United States with a written statement disclosing: (1) the name of the business
11    entity; (2) the address and telephone number of the business entity; (3) the names
12    of the business entity’s officers, directors, principals, managers, and employees;
13    and (4) a detailed description of the business entity’s intended activities.
14    IV.   ORDER ACKNOWLEDGMENTS
15          It is further ordered that within fifteen (15) days after entry of this Order, the
16    Defendant is ordered to submit to Postal Inspector Ashlea Bowens a written
17    acknowledgement of receipt of this Order sworn under penalty of perjury. The
18    statement shall be addressed to:
19          Postal Inspector Ashlea Bowens
20          U.S. Postal Inspection Service
21          P.O. Box 7404
22          Washington, DC 20044-7404
23    V.    MODIFICATION OF ORDER
24          This Order shall not be modified except in writing by the United States and
25    Defendant and approved by the Court.
26    ///
27    ///
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 1    IV.   RETENTION OF JURISDICTION
 2          IT IS FURTHER ORDERED that this Court shall retain jurisdiction of this
 3    matter for all purposes.
 4    SO ORDERED
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 6    DATED this 28th day of September, 2021
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 8                                        ________________________
 9                                                       John F. Walter
10                                          United States District Judge
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 1    FOR PLAINTIFF UNITED STATES OF AMERICA
 2    BRIAN M. BOYNTON
      Acting Assistant Attorney General
 3
      ARUN G. RAO
 4    Deputy Assistant Attorney General
 5    GUSTAV W. EYLER
      Director
 6    Consumer Protection Branch
 7    LISA K. HSIAO
      Assistant Director
 8
      /s/ Michael J. Wadden                     Date: September 24, 2021
 9    MICHAEL J. WADDEN
      AMY P. KAPLAN
10    Trial Attorneys
      Consumer Protection Branch
11    United States Department of Justice
12

13    FOR DEFENDANT EVELYN SEIDMAN
14

15    _____________________________             Date: ______________________
                                                          9.28.21

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